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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ATHENS DIVISION

UNITED STATES OF AMERICA,           : SECOND SUPERSEDING INDICTMENT
                                    :
            v.                      : Case No. 3:21-CR-9
                                    :
CEDDRICK DEMON MERCERY,             :
                                    :
            Defendant.              :
___________________________________ :

                 SUMMARY OF TESTIMONY OF EXPERT WITNESS
             FBI FIREARM AND TOOLMARK EXAMINER AIMEE QULIA

       The United States will offer expert testimony from witness Federal Bureau of Investigation

(“FBI”) Firearm and Toolmark Examiner Aimee Qulia. As part of her official duties with the FBI,

Aimee Qulia has been assigned to the FBI Laboratory – Firearms/Toolmarks Unit in Quantico,

VA, since 2015. Prior to working in the Firearms/Toolmarks Unit, Aimee Qulia was assigned for

approximately 10 years to the FBI Latent Print Operations Unit.

       Prior to his employment with the FBI, Erik Carpenter was employed from 1996-2000 as a

Special Police Officer with the George Washington University Police Department. Erik Carpenter

has a Bachelor of Science Degree in Chemistry from Hope College, in Holland, Michigan, and a

Master of Forensic Sciences Degree from George Washington University, in Washington, D.C.

       Aimee Qulia’s curriculum vitae (“CV”) outlining her qualifications and a copy of her

expert findings have already been provided to the Defendant in the discovery process. As

required by Rule 16 of the Federal Rules of Criminal Procedure, the following is a summary of

what Aimee Qulia will testify about at the trial of the above-styled case:
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       Aimee Qulia will testify that she examined three .40 S&W caliber cartridge cases

(identified as Items 117, 118, and 119) which she determined were fired from a Taurus .40 caliber

pistol, Model: G2C, Serial Number: AAM123496 (Item 113).1

       RESPECTFULLY SUBMITTED, this 12th day of April, 2022.


                                            PETER D. LEARY
                                            UNITED STATES ATTORNEY
                                            MIDDLE DISTRICT OF GEORGIA

                                     BY: s/ Michael D. Morrison
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1
 The three .40 S&W caliber cartridge cases (Items 117, 118, and 119) were collected from the
ground at the intersection of Loblolly Drive and Freeman Drive in Athens, which was the scene
of the attempted shooting of the “repo men” on September 23, 2020. The Taurus .40 caliber
pistol (Item 113) was located on September 24, 2020, in front of an apartment building on
College Avenue in Athens, which the Government contends was discarded by Defendant
Mercery as he fled from law enforcement following the “repo men” shooting the night before.
                                               2
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                              CERTIFICATE OF SERVICE

       I, MICHAEL D. MORRISON, Assistant United States Attorney, hereby certify that on

the 12th day of April, 2022, I electronically filed the within and foregoing Summary of

Testimony of Expert Witness FBI Firearm and Toolmark Examiner Aimee Qulia with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

parties of record.

                                            PETER D. LEARY
                                            UNITED STATES ATTORNEY
                                            MIDDLE DISTRICT OF GEORGIA

                                      BY: s/ Michael D. Morrison
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